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                                                                                         May 24, 2022


   Magistrate Judge Kimberly C. Priest Johnson
   United States Federal Courthouse
   7940 Preston Road Suite 110
   Plano, TX 75024



   Dear Magistrate Judge Kimberly C. Priest Johnson,
   I am writing this letter on behalf of Eric Reed requesting that you grant him a reasonable bond. I
   do not believe that Eric presents a flight risk, and that he is of immense value to his community
   and family.
   I first met Eric 5 years ago during a Fireball Run event. The purpose of the event was to travel
   the country in order to bring awareness to missing children in hopes of recovering them. Upon
   meeting him, Eric welcomed me into his group of friends whom he had known for over 20 years.
   His actions were in stark contrast to others I had met before him on the journey. During our
   conversation, Eric immediately let me know about his federal conviction in case it would make
   me uncomfortable given my position. He took blame for trusting his superiors to a fault.
   Over these 5 years, we have continued to grow together as great friends.
   I felt it necessary to speak on his behalf given the gravity of the situation due to his previous
   conviction. I would not do so if I believed, even remotely, that Eric is a flight risk.
   He currently resides 25 minutes from his elderly father who is in dire need of Eric’s care. His
   father has a significant heart issue requiring imminent surgery. Eric’s brother, who might
   otherwise care for their father, is unable to do so given his significant obesity issues. Eric has had
   to care for his brother as well, going as far as to cook meals for his brother every day.
   Eric owns and operates several businesses out of Dallas. He has a coaching business, nutritional
   meal planning business, and Markon Meals agency from which he conducts business locally.
   Finally, Eric has not been evasive in the investigation. He has known about the coming
   indictment for some time and, rather than escape, has assisted by supplying the Consulting
   Agreement for the SBA Loan containing his identifiers so as to help the FBI source the
   corruption. He did not flee because he believes that when the investigation is complete, the
   investigation will clear him of all wrongdoing.
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   To Whom it May Concern

   Phoenix Marcon has been a good friend and a true inspiration in my life for over 5 years. In the
   time that I have known him, his actions and activities have always been based around helping
   others. Putting people in need has always been Phoenix's top priority.
   From serving his country, to leading weekly community groups in feeding the homeless, Phoenix
   is a great honest person that inspires me to be my best every day. Phoenix is a person with high
   integrity that always gives and never takes. His soul was put on this earth as a caregiver to
   others and a sharer of light. This is all that I have seen him do for many years.

   Lizbeth Harrison
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To: Hon. Magistrate Judge Kimberly Johnson

Subject: Case number 422CR110, Character Statement of Eric Morsacio

I had the pleasure of meeting Eric Morsacio in 2017. I found him to be an
outstanding person, full of positive energy and very personable. Since that first
meeting, I came to know Eric as a successful chef, author of many self‐help
motivational publications, fitness trainer, and community service champion. He is a
very humble man who strives to help others before himself.

I would vouch for this man's honest character integrity anyday.

Respectfully,

Marc Lavigne
USAF/DOD Engineer

309th Software Engineering Group, Hill AFB, UT
Former NASA Engineer, Kennedy Space Center, FL
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  ERIC INVENTED SYSTEM NAMED "REVOICE" TO HELP THE DEAF COMMUNICATE WITH EVERYONE SO
  THEY CAN LEAD A NORMAL LIFE..




  ERIC HELD TOY DRIVES FOR "CHILDREN'S MEDICAL CENTER"
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  ERIC (Phoenix) BECAME A LICENSED LIFE COACH TO HELP OTHERS THROUGH THEIR TOUGH TIMES
  AS HE HAD BEEN THEIR HIMSELF.




  ERIC MARASCIO SERVED HIS COUNTRY THROUGH THE AIR FORCE
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  THROUGH HIS PHILANTHROPY, HE'S BECOME CLOSE FRIENDS WITH COMMISSIONERS, JUDGES,
  ATTORNEY'S, etc. (see character reference letters attached)
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  ERIC (Phoenix Marcon) WAS WRITTEN UP IN FORBES MAGAZINE 2022 SPECIAL ISSUE GIVING
  HELPFUL ADVICE TO OTHERS




  **** CHARACTER REFERENCE LETTERS ATTACHED
  (more coming tomorrow morning)
